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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,
                                                    No. 1:23-cr-00095
      v.
                                                    Hon. Robert J. Jonker
RASHAD MALEEK TRICE,                                U.S. District Judge

             Defendant.
                                  /

                      JOINT STATUS REPORT ON
               DEATH PENALTY DETERMINATION PROCESS

     The United States, through United States Attorney Mark A. Totten and

Assistant U.S. Attorneys Doaa Al-Howaishy and Jonathan Roth, and Defendant

Rashad Maleek Trice, through Federal Public Defender Sharon A. Turek, Assistant

Federal Public Defender Helen C. Nieuwenhuis, and Scott Graham, file this Joint

Notice in compliance with the Court’s Order of August 10, 2023. (R.28: Order,

PageID.138–139.)

     The United States is awaiting a decision from the Attorney General. There is no

firm anticipated date of completion at this time.
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                                         Respectfully submitted,


                                         MARK A. TOTTEN
                                         United States Attorney

Dated: October 4, 2023                   /s/ Jonathan Roth __________
                                         DOAA AL-HOWAISHY
                                         JONATHAN ROTH
                                         Assistant United States Attorneys



                                         SHARON A. TUREK
                                         Federal Public Defender

Dated: October 4, 2023                   /s/Sharon Turek w/ permission
                                         SHARON A. TUREK
                                         HELEN NIEUWENHUIS
                                         SCOTT GRAHAM
